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                                                                                                                2021R00601 -001


AO 110 (Rev. 06/09)Subpoena to Testify Before a Grand Jury


                                     United States District Court
                                                                  for the

                                                 District of South Dakota


                                      SUBPOENA TO TESTIFY BEFORE A GRAND JURY



 To: Facebook, Inc. - REDACTED




          YOU ARE COMMANDED to appear in this United States district court at the time, date, and place shown
below to testify before the court's grand jury. When you arrive, you must remain at the court until the judge or a court
officer allows you to leave.



Place: sioux Falls Grand Jury                                               Date and Time:
         400 S. Phillips Avenue, Sioux Falls, SD 57104
                                                                              01/04/2022 9:00 am




          You must also bring with you the following documents, electronically stored information, or objects (blank ifnot
applicable)'.
Please send the subpoena to Facebook for the following accounts:

REDACTED


Please provide all records or other information regarding the identification of the accounts, to include full name, physical
address, telephone numbers, and other identifiers, records of session times and durations, the date on which the
accounts were created, the iength of service, the types of service utiiized, the IP addresses used to register the
accounts, log-in IP addresses associated with session times and dates, accounts status, and e-mail addresses provided
during registration.




Date:     November 22, 2021                                           CLERK OF COURT




                                                                                 Signature ofClerk or Deputy Clerk



The name, address, e-mail, and telephone number of the United States attorney, or assistant United States attorney, who
requests this subpoena, are:
Jeff Clapper
325S. IstAve Suite 300 Sioux Falls, SD 57104
605-330-4400
Jeff.Clapper@usdoj.gov
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                                                                                                               2021R00601 -001

AO 110 (Rev.06/09) Subpoena to Testify Before Grand Jury (Page 2)




                                                           PROOF OF SERVICE




         This subpoena for (name ofindividual or organization) Facebook, Inc.
was received by me on (date)


         □ Iserved the subpoena by delivering a copy to the named person as follows:


                                                                              on (date)


         □ Ireturned the subpoena unexecuted because:




        I declare under penalty of perjury that this information is true.




                                                                                          Server's signature


                                                                                            David Hohn
                                                                                     Printed name and title

                                                                                   2708 North 1st Avenue
                                                                                   Sioux Falls, SO 57104


                                                                                          Server's address


Additional information regarding attempted service, etc:
